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12/10/2021 08:07 AM CST




                                                        - 389 -
                               Nebraska Supreme Court Advance Sheets
                                        310 Nebraska Reports
                                              IN RE ESTATE OF LAKIN
                                                 Cite as 310 Neb. 389



                         In re Estate of Charles E. Lakin, deceased.
                       Charles E. Lakin Foundation, Inc., appellant, v.
                       Thomas Pribil and William Kilzer, Copersonal
                               Representatives of the Estate of
                                  Charles E. Lakin, appellees.
                          In re Trust of Charles E. Lakin, deceased.
                       Charles E. Lakin Foundation, Inc., appellant, v.
                        Thomas Pribil and William Kilzer, Cotrustees
                              of the Charles E. Lakin Revocable
                                    Trust, et al., appellees.
                                                    ___ N.W.2d ___

                                   Filed November 19, 2021.   Nos. S-20-093, S-20-094.

                                             supplemental opinion
                 Appeals from the County Court for Douglas County:
               Stephanie S. Shearer, Judge. Former opinion modified.
               Motions for rehearing overruled.
                 Zachary W. Lutz-Priefert, Frederick D. Stehlik, William J.
               Lindsay, Jr., and John A. Svoboda, of Gross &amp; Welch, P.C.,
               L.L.O., for appellant.
                 Edward D. Hotz, Amanda M. Forker, and Benjamin C.
               Deaver, of Pansing, Hogan, Ernst &amp; Bachman, L.L.P., for
               defendants-appellees Thomas L. Pribil and William A. Kilzer.
                  Trenten P. Bausch and Megan S. Wright, of Cline, Williams,
               Wright, Johnson &amp; Oldfather, L.L.P., for appellee Thomas L.
               Pribil in his individual capacity.
                                   - 390 -
            Nebraska Supreme Court Advance Sheets
                     310 Nebraska Reports
                         IN RE ESTATE OF LAKIN
                            Cite as 310 Neb. 389
   Cathy S. Trent-Vilim and Brian J. Brislen, of Lamson,
Dugan &amp; Murray, L.L.P., for appellee William A. Kilzer, an
individual.
      Heavican, C.J., Cassel, Stacy, Funke, and Freudenberg,
JJ.
   Per Curiam.
   This case is before us on three motions for rehearing filed
by the appellees, Thomas Pribil and William Kilzer—in their
individual capacities and their capacities as copersonal rep-
resentatives and cotrustees—concerning our opinion in In re
Estate of Lakin. 1 While there is no substantive merit to the
motions, Pribil and Kilzer point out that this court incorrectly
found that the check used to pay Pribil was not in our record.
The check appears in exhibit 59.
   We overrule the motions, but modify the original opinion
to substitute language as follows. In the paragraph under the
subheading “7. § 6-1437,” we withdraw the third and fourth
sentences and substitute: “Our record is not clear on the
source of the payment and the capacity of the person making
the payment.”
   The remainder of the opinion shall remain unmodified.
                       Former opinion modified.
                       Motions for rehearing overruled.
   Miller-Lerman and Papik, JJ., not participating.
1
    In re Estate of Lakin, 310 Neb. 271, 965 N.W.2d 365 (2021).
